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                          ** NOT FOR PRINTED PUBLICATION **

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

PANTAURUS, LLC,                                §
                                               §
        Plaintiff,                             §      CIVIL ACTION No. 1:14-cv-519
                                               §
v.                                             §      JUDGE RON CLARK
                                               §
SLING MEDIA, INC.,                             §      BRC
                                               §
        Defendant.                             §

                        ORDER OF DISMISSAL WITH PREJUDICE

        On this day, the Court considered the Agreed Motion to Dismiss with Prejudice filed by

Plaintiff PanTaurus LLC (“PanTaurus”), and agreed to by Defendant Sling Media, Inc. (“Sling

Media”). Based on the Agreed Motion and the grounds asserted therein, the Court is of the

opinion that the Agreed Motion should be GRANTED.

        It is, therefore, ORDERED that this action and all claims asserted by PanTaurus against

Sling Media are hereby DISMISSED WITH PREJUDICE, with each party to bear its own costs,

attorney’s fees, and expenses.


       So ORDERED and SIGNED this 24 day of March, 2015.




                                                   ___________________________________
                                                   Ron Clark, United States District Judge
